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                                                           IN CLERK’S OFFICE
RCH:LZ/AXB
                                                           US DISTRICT COURT E.D.N.Y.
F. #2022R01030
                                                           * AUGUST 15, 2023 *
                                                           BROOKLYN OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                       X


UNITED STATES OF AMERICA                                 INDICTMENT


       - against -                                       Cr. No. 23-CR-327
                                                         (T. 18, U.S.C.,§§ 981(a)(1)(C), 1343,
SAMUEL MIELE,                                             1028A(a)(l), 1028A(b), 1028A(c)(5) and
                                                          3551 M m--. T. 21, U.S.C., § 853(p); T.
                         Defendant.                       28, U.S.C.,§ 2461(c))

                                       X
                                                         Judge Orelia E. Merchant
THE GRAND JURY CHARGES:
                                                         Magistrate Judge Cheryl L. Pollak

                             INTRODUCTION TO ALL COUNTS


               At all times relevant to this Indictment, unless otherwise indicated:

1.     Relevant Individuals and Entities

               1.     During the 2020 and 2022 election cycles, Candidate #1, an individual

whose identity is known to the Grand Jury, was a candidate for election to the U.S. House of

Representatives (the "House").

               2.     The defendant SAMUEL MIELE was a fundraiser for the campaign of

Candidate #1 during the 2020 and 2022 election cycles (the "Campaign"). MIELE received a

commission on the amount of money he raised for the Campaign.

               3.     The Campaign was headquartered in Suffolk County, New York, and

maintained a bank account at a branch in Suffolk County, New York.

               4.     Person #1, an individual whose identity is known to the Grand Jury, was a

high-ranking aide to a member of the House with leadership responsibilities.
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II.     The Fraudulent Scheme


               5.      In or about and between August 2021 and December 2021, the defendant

SAMUEL MIELE falsely and without authorization impersonated Person #1, in both email and

telephone communications with potential contributors, for the purpose of soliciting financial

contributions to support the Campaign and enriching himselfthrough commissions earned on

these financial contributions to the Campaign.

               6.      In furtherance of this scheme, the defendant SAMUEL MIELE created an

email account(the "Account") bearing the first letter and full last name of Person #1. Falsely

purporting to be Person #1, MIELE used the Account to send fraudulent fundraising solicitations

to potential contributors to the Campaign. MIELE signed such emails using Person #rs full

name and official title.


               7.      Through this fraudulent scheme, the defendant SAMUEL MIELE solicited

contributions for the Campaign from more than one dozen potential contributors. Where

successfully raised, these contributions were transferred, through an intermediary service, into

the Campaign's bank account located in Suffolk County, New York. For his efforts, MIELE

received a commission of 15 percent of each contribution.

               8.      Person #1 did not authorize the defendant SAMUEL MIELE, Candidate

#1, or any other agents of the Campaign to use Person #1's name or other means of identification

to solicit contributions for the Campaign.

               9.      On or about September 26,2022, the defendant SAMUEL MIELE

transmitted a letter to Candidate #1, in which he admitted to "faking my identity to a big donor,"

but stated that he was "high risk, high reward in everything I do."
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                                COUNTS ONE THROUGH FOUR
                                           (Wire Fraud)

               10.     The allegations contained in paragraphs one through nine are realleged

and incorporated as iffully set forth in this paragraph.

               11.     In or about and between August 2021 and December 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant SAMUEL MIELE did knowingly and intentionally devise a scheme and artifice to

defraud and to obtain money by means of one or more materially false and fraudulent pretenses,

representations and promises.

               12.     On or about the dates set forth below, for the purpose of executing such

scheme and artifice, and attempting to do so, the defendant SAMUEL MIELE did transmit and

cause to be transmitted, by means of wire communication in interstate and foreign commerce,

writings, signs, signals, pictures and sounds, as set forth below:

    Count               Date                                   DescriDtion

 ONE            August 19, 2021        Email to Contributor #1, an individual whose identity is
                                       known to the Grand Jury, falsely purporting to have been
                                       sent by Person #1 and soliciting a financial contribution
                                       to the Campaign.
 TWO            September 21, 2021     Email to Contributor #2, an individual whose identity is
                                       known to the Grand Jury, falsely purporting to have been
                                       sent by Person #1 and soliciting a financial contribution
                                       to the Campaign.
 THREE          October 22, 2021       Email to Contributor #3, an individual whose identity is
                                       known to the Grand Jury, falsely purporting to have been
                                       sent by Person #1 and soliciting a financial contribution
                                       to the Campaign.
 FOUR           October 22, 2021       Email to Contributor #4, an individual whose identity is
                                       known to the Grand Jury, falsely purporting to have been
                                       sent by Person #1 and soliciting a financial contribution
                                       to the Campaign.

               (Title 18, United States Code, Sections 1343 and 3551 et seq.")
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                                           COUNT FIVE
                                    (Aggravated Identity Theft)

                13.    The allegations contained in paragraphs one through nine are realleged

and incorporated as iffully set forth in this paragraph.

                14.    In or about and between August 2021 and December 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant SAMUEL MIELE, during and in relation to the crimes charged in Counts One through

Four, did knowingly and intentionally possess and use, without lawful authority, one or more

means of identification ofa person,to wit: Person #rs name, knowing that the means of

identification belonged to another person.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(5) and

3551 et seq.)

                             CRIMINAL FORFEITURE ALLEGATION
                             AS TO COUNTS ONE THROUGH FOUR


                15.    The United States hereby gives notice to the defendant that, upon his

conviction of any of the offenses charged in Counts One through Four,the government will seek

forfeiture in accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c), which require any person convicted of such offenses to

forfeit any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly as a result of such offenses.

                16.    If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:


                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;
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                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))




                                                                   A TRUE BILL




                                                                  FOREPERSON




BREON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK




COREY R. AMUNDSON
CHIEF,PUBLIC INTEGRITY SECTION
U.S. DEPARTMENT OF JUSTICE
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F.i!#:2022ROt030

FORMDBD-34             NO.
JUN. 85



                              UNITED STATES DISTRICT COURT

                                            EASTERN District of NEW YORK

                                                         CRIMINAL DIVISION

                                     THE UNITED STATES OF AMERICA
                                                                      v^.




                                                                SAMUEL MIELE,

                                                                                          Defendant.



                                                          INDICTMENT

                              (T. 18,U.S.C., §§ 981(a)(1)(C), 1343, 1028A(a)(l), 1028A(b),
                                  1028A(c)(5) and 3551          T. 21, U.S.C., § 853(p);
                                                 T. 28, U.S.C.,§ 2461(c))

                             A true bill.         .              /^         /}




                       Filed in open court this                              day.

                       of                             A.D. 20


                                                                                                 Clerk


                       Bail, $


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                               Jacob R. Steiner/John P. Taddei, Trial Attorneys (202) 514-1412
